 August 25, 2000
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 Mr. Lindsay Springer
 5147 S. Harvard No. 116
 TUlsa, OK 1413'

 Re: Donation

 Dear Lindsay:

 Please find enclosed our donation check hopefully as an encouragement to you to continue your fight
 against the anti constitutional issues endorsed, encouraged and policed by our government. If we had
 more Christians standing up for God's laws and for the rights of the American people, this would once
 again be a country of the people, by the people and for the people, endowed and blessed by its Creator.

 Thank you for being willing to suffer persecution to do that which is right   In closing please don't
 forget to call Eric Lynch to discuss the issues he is working on.

 Sincerely in Christ,


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